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 SOUTHERN DISTRICT OF NEW YORK
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 MARK NUNEZ, et al.,
                                                                               D \ TE fl LED:      3 -) D 'l.J)t=1
                              Plaintiffs,

        • against·
                                                                         11 Civ. 5845 (LTS)(JCF)
CITY OF NEW YORK, et al.,

                             Defendants.

--------------···-····-------------······----------..---····-        X
UNITED STATES OF AMERICA,

                               Plaintiff-Intervenor,

          -against-

CITY OF NEW YORK and NEW YORK CITY
DEPARTMENT OF CORRECTION,

                               Defendants.
-·--------------------------···-·--·-·········--------------- X
         IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, who

are all of the parties to this action, that the Amended Protective Order (Dkt. 89) is further

amended by adding the following subparagraphs U), (k), and (1) to paragraph 2:

         G)        Recommendations contained in the report authored by Jeffrey Beard pursuant to

Section XVI, paragraph 11, of the Consent Judgment (see Dkt. 249, at page 48 of 65), unless

such information is included in a Monitor's Report filed with the Court;

         (k)       Information set forth in the columns captioned "Remarks., and "Case Description"

in DOC's production of reports of preliminary reviews conducted by DOC pursuant to the

Consent Judgment, Section VII, paragraph 7 (see Dkt. 249, at pages 18~20 of 6.5), except that
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                                            Filed03/30/17
                                                  03/29/17 Page
                                                           Page 23 of
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Plaintiffs' Counsel will be permitted to disclose: (i) aggregate trend info1mation gleaned from

the reports of the preliminary reviews, excluding reference to any specific incidents or

individuals, and with the express caveat that any information disclosed is based on preliminary

assessments, as set forth in the Court's Order dated September 13,2016 (Dkt. 289), and (ii)

information that is included in a Mo1litor's Report filed with the Court; and

         (1)      All other documents that all Parties agree shall be trented as Confidential

Materials, provided notice is given to the Court;

         IT IS FURTHER STIPULATED AND AGREED, that nothing in this stipulation and

order shall be deemed as a waiver by the City or DOC of any applicable privilege whatsoever.


FOR THE UNITED STATES:

PREET BHARARA
United States Attorney for the
Southern District of New Y~

By:            ~~
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FOR PLAINTIFF CLASS:

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      ~·--~~
By: ______________________ __
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FOR DEFENDANTS CITY OF NEW YORK AND DEPARTMENT OF CORRECTION:

ZACHARY W. CARTER

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                                          SO ORDERED this'&>"" day of JV\..~.~   ,2017
